                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )      No. 3:22-cr-00282
       v.                                       )
                                                )
                                                )
GLEN CASADA                                     )
CADE COTHREN                                    )


                  UNOPPOSED MOTION FOR STATUS CONFERENCE

       The United States of America, through Thomas Jaworski, First Assistant United States

Attorney for the Middle District of Tennessee, Assistant United States Attorney Amanda J. Klopf,

Corey R. Amundson, Chief of the Public Integrity Section of the United States Department of

Justice, and Trial Attorney John P. Taddei, (collectively, “United States” or “government”),

respectfully moves this Court to set a status conference. In support thereof, the United States

would request the Court set a pre-trial scheduling order, and discuss other outstanding issues.

Counsel for defendants do not oppose this motion. The parties are available anytime on May 22

and May 23, if the Court is available.

                                         Respectfully submitted,

                                         /s/ John P. Taddei
                                         JOHN P. TADDEI
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                                         Public Integrity Section
                                         Criminal Division
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                          THOMAS JAWORSKI
                          Attorney for the United States
                          Middle District of Tennessee
                          Acting Under Authority Conferred by 28 U.S.C. § 515

                    By:   /s/ Amanda Klopf
                          AMANDA KLOPF
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                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing Motion For Status Conference was

electronically filed with the Clerk on May 4, 2023, and service was made upon all persons

registered in that case via CM/ECF and/or by email.



                                            /s/Amanda Klopf
                                            AMANDA KLOPF
                                            Assistant United States Attorney




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